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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                        LUBBOCK DIVISION

ANOOSH RAKHSHANDEH,                                       §
                                                          §
                  Plaintiff,                              §
                                                          §
V.                                                        §    CIVIL ACTION NO. 5:20-CV-110-BQ
                                                          §
TEXAS TECH UNIVERSITY,                                    §
                                                          §
                  Defendant.                              §

                               MEMORANDUM OPINION AND ORDER 1

         In accordance with Federal Rule of Civil Procedure 12(6)(1) and (b)(6), Defendant Texas

Tech University seeks dismissal of Plaintiff Anoosh Rakhshandeh's claims for discrimination and

hostile work environment under Title VII of the Civil Rights Act of 1964 (CRA). ECF No. 13.

Plaintiff filed a response with appendix (ECF Nos. 14, 15, 16) to Defendant's motion, to which

Defendant replied. ECF No. 17. The motion is novv ripe for decision. For the reasons explained

herein, the Court DENIES Defendant's Rule 12(6)(1) motion but GRANTS its Rule 12(6)(6)

motion.

                                               L        Background

      A. Factual Allegations

         The Court accepts as true the following narrative from Plaintiffs Complaint. On February

1, 2013, Plaintiff began employment at Texas Tech University (TTU) as an assistant professor.

Comp!. 2 ~ 9, ECF No. 1. Plaintiff is Iranian and a "non-Christian." Id. at 2 ~ 10. In approximately

June 2013, Dr. Michael Orth (Plaintiffs supervisor) and his wife "asked Plaintiff detailed

questions about Plaintiffs religious beliefs." Id. Thereafter, Dr. O1ih, who is "a devout Christian,


1
 By consent of the parties and order dated November 5, 2020, this case has been transferred for all further proceedings
and entry of final judgment. ECF Nos. l 0, l l.
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became cold and distant towards Plaintiff." Id. Further, "Dr. Orth made a number of statements

indicating that he did not like the nation oflran or its leaders." Id.

        During his probationary period, Plaintiff "suffered personal circumstances and a medical

condition that qualified for an extension of the tenure clock." Id. Defendant, however, did not

permit Plaintiff "an extension of time to complete one part of his tenure application that would

[have] satisf[ied] pending tenure requirements ...." Id. That is, "Dr. Orth made no extension

offer to Plaintiff, nor did he make Plaintiff aware of the extension option despite having full

knowledge of Plaintiffs situation and despite doing so for others suffering less serious

events/circumstances." Id.

        Plaintiff's tenure application was subsequently denied. Id. at 2- 3 ~ 10. Plaintiff avers that

Defendant denied him tenure due to its "discriminatory and disparate treatment . . .. " Id. at 3 ~ 10.

Plaintiff also contends that he was "subject to a hostile work environment and was otherwise

treated differently than similarly situated employees of Defendant within Plaintiff's depm1ment

who were outside of [Plaintiff's] nationality or religion." Id. at 2 ~ 10.

        On May 21, 2020, Plaintiff filed his original Complaint alleging claims under Title VII.

ECF No. 1.       Although not specifically pleaded, Plaintiff appears to raise claims for both

employment discrimination and hostile work environment. 2 Compl. 2- 3 ~ 10, 3 ~ 11. Plaintiff

seeks injunctive relief in the form of reinstatement "of his faculty appointment at the level of

tenured associate professor," lost wages and benefits, monetary damages, and attorney's fees and

costs. Id. at 3 ~ 13.




2This phrase appears only once in Plaintifrs Complaint, and nowhere in his response to Defendant's Motion to
Dism iss does he even mention the claim, much less cite well pleaded facts supporting the claim.



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    B. The Parties' Pleadings

        Defendant filed the pending Motion to Dismiss based on the lack of subject matter

jurisdiction (Rule 12(b)(1 )) and for failure to state a claim upon which relief can be granted (Rule

12(b)(6)). ECF No. 13. As to dismissal under Rule 12(b)(1 ), Defendant argues that Plaintiff lacks

constitutional standing to bring this action because Plaintiff has not suffered an injury-in-fact that

is traceable to Defendant' s alleged unlawful action. Def. ' s Mot. to Dismiss Pl. 's Orig. Compl. 4,

ECF No. 13 [hereinafter Def. 's Mot.]. Further, Defendant believes Plaintiffs claims are not ripe

for review "because no final decision was ever rendered regarding Plaintiffs application for

tenure." Id. at 5. In support, Defendant cites to several exhibits attached to its motion. Id. at 6

(citing Ex. 1-1, Ex. 1-3).

        As to its request for dismissal of Plaintiffs Title VII claim under Rule 12(b)( 6) (id. at 7-

8), Defendant alleges that Plaintiff has not demonstrated he was qualified for tenure; thus, he

cannot state a claim for discrimination. Id. at 8. Moreover, Defendant contends that to the extent

Plaintiff raises a hostile work environment claim, Plaintiff has not pleaded facts showing sufficient

objective and subjective abuse "to meet the requirements of a hostile work environment." Id. at

8- 9.

        In response, Plaintiff states that "Defendant's arguments, which are based on its belief that

Plaintiffs claim is being brought because of a denial of tenure, miss the mark of what this lawsuit

is about."   Pl. ' s Resp. 1, ECF No. 15.      Plaintiff asserts that although the "circumstances

surrounding [his] tenure application are part of the discrimination claims, the discrimination

alleged and damages sought by Plaintiff are not restricted to tenure." Id. at 1- 2. Regarding

Defendant' s standing argument, Plaintiff contends that a Title VII plaintiff "is only required to

establish statutory"- not constitutional- standing. Id. at 2. Plaintiff asserts he has pleaded facts




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demonstrating that he meets the statutory standing requirements for bringing a Title VII claim, i.e.,

that he was discriminated against on the basis of national origin and religion, he "is an eligible

employee under the CRA ... , Defendant is an employer under the CRA[,] and he suffered

damages ... as a result of unlawful discrimination." Id. at 3-4. Similarly, Plaintiff avers that he

satisfied all conditions precedent prior to filing this action, and the case is ripe for judicial review.

Id. at 4.

        Moreover, Plaintiff alleges that he has pleaded sufficient facts to survive Defendant's Rule

12(b)(6) motion. Id. at 5-6. In support, Plaintiff cites Wooten v. McDonald Transit Associates.

Inc., 788 F.3d 490,498 (5th Cir. 2015). Id. Plaintiff asserts he has provided a short and plain

statement that not only exceeds the level of factual specificity approved by the Fifth Circuit in

Wooten, but that also complies with Rule 8 of the Federal Rules of Civil Procedure such that

Defendant is on notice of the employment discrimination claim against it.                   Id. at 6- 8.

Alternatively, Plaintiff asks the Court to permit him leave to amend, to the extent the Court

determines that Plaintiff has failed to state a claim. Id. at 8.

        In reply, Defendant asserts that the only potential adverse employment action in this case

is denial of tenure, which Defendant contends does not constitute a "final" employment decision

by Defendant. Def 's Reply 2, ECF No. 17. Thus, the Court should dismiss this action because:

(1) Plaintiff cannot establish constitutional- as opposed to statutory-standing without a final

tenure decision; (2) the discrimination claim is not constitutionally ripe without a final decision

regarding tenure; and (3) Plaintiff has failed to plead any facts demonstrating a viable employment

discrimination or hostile work environment claim. Id. at 2-5.




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                                      II.    Legal Standards

    A. Motion to Dismiss under Rule 12(b)(l)

       "Federal courts are courts of limited jurisdiction." Kokkonen v. Guardian Life Ins. Co. of

Am., 511 U.S. 375,377 (1994). Under Article III of the Constitution, they possess "jurisdiction

only over cases and controversies." Williams v. Parker, 843 F.3d 617, 620 (5th Cir. 2016) (internal

quotation marks omitted) (quoting Raines v. Byrd, 521 U.S. 811 , 818 (1997)). Without a case or

controversy, a plaintiff does not have standing to sue in federal court. Id. (citing Raines, 521 U.S.

at 818). "Standing is a threshold issue that [courts] consider before examining the merits." Id.

       "A motion to dismiss for lack of Article III standing is properly considered under Rule

12(b)(l)." Higgins v. Tex. Dep 't of Health Servs., 801 F. Supp. 2d 541 , 547 (W.D. Tex. 2011)

(citing Harold H. Huggins Realty, Inc. v. FNC, Inc. , 634 F.3d 787, 795 n.2 (5th Cir. 2011)). "The

party responding to the l 2(b)(1) motion bears the burden of' establishing the court's subject matter

jurisdiction. Wilson v. Haus. Cmty. Coll. Sys., 955 F.3d 490, 494 (5th Cir. 2020). "A district court

may find a lack of subject matter jurisdiction on either: (1) the complaint alone; (2) the complaint

supplemented by undisputed facts evidenced in the record; or (3) the complaint supplemented by

undisputed facts plus the court's resolution of disputed facts." Id. at 494-95 (internal quotation

marks omitted).

       To establish standing, a plaintiff must, at a minimum, demonstrate three things: (1) "an

injury in fact" (2) that is "fairly traceable to the challenged action of the defendant" and (3) it is

"likely, as opposed to merely speculative, that the injury will be redressed by a favorable decision."

Lujan v. Deft. of Wildlife, 504 U.S. 555, 560- 61 (1992) (internal quotation marks, alterations, and

citations omitted); Williams, 843 F.3d at 620.        "The triad of injury in fact, causation, and

redressability constitutes the core of Article Ill's case-or-controversy requirement ...." Williams,




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843 F.3d at 621 (quoting Steel Co. v. Citizens for a Better Env 't, 523 U.S. 83, I 03- 04 (1998)). "If

the party invoking federal jurisdiction fails to establish any one of injury in fact, causation, or

redressability, then federal courts cannot hear the suit." Id.

        Concomitantly, the party invoking a federal court's jurisdiction must also demonstrate that

his claims are ripe for review. "Because ripeness is a component of subject matter jurisdiction, a

court does not have the power to decide claims that are not yet ripe." Avalon Residential Care

Homes, Inc. v. City of Dallas, No. 3:11-CV-1239-D, 2011 WL 4359940, at *5 (N.D. Tex. Sept.

19, 2011 ). "Ripeness ensures that federal courts do not decide disputes that are premature or

speculative." DM Arbor Ct., Ltd v. City of Houston, 988 F.3d 215,2 18 (5th Cir. 2021) (internal

quotation marks and citation omitted). "A case becomes ripe when it would not benefit from any

further factual development and when the court would be in no better position to adjudicate the

issues in the future than it is now." Id (internal quotation marks and citation omitted).

    B. Rule 12(b)(6) Motion to Dismiss

       To survive a Rule 12(b)(6) motion, a plaintiff must allege sufficient facts "to state a claim

to relief that is plausible on its face." Bell At!. Corp. v. Twombly, 550 U.S. 544, 570 (2007); see

Colony Ins. Co. v. Peachtree Constr., Ltd, 647 F.3d 248,252 (5th Cir. 2011). "A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009). In considering 12(b)(6) motions, courts must accept well-pleaded facts (not mere

conclusory allegations) as true and view them in the light most favorable to the plaintiff. Twombly,

550 U.S. at 555 (explaining that a plaintiff must provide " more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do"); Snow Ingredients, Inc. v.

SnoWizard, Inc., 833 F.3d 512, 520 (5th Cir. 2016) (stating that courts accept all well-pleaded facts




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as true, but '" [t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements' cannot establish facial plausibility" (quoting Iqbal, 556 U.S. at 678)). A

plaintiffs " [f]actual allegations must be enough to raise a right to relief above the speculative

level, on the assumption that all the allegations in the complaint are true (even if doubtful in fact). "

Twombly, 550 U.S. at 555 (internal citations omitted). "The court's review is limited to the

complaint, any documents attached to the complaint, and any documents attached to the motion to

dismiss that are central to the claim and referenced by the complaint." Lone Star Fund V (US.),

L.P. v. Barclays Bank PLC, 594 F.3d 383,387 (5th Cir. 2010).

                                               III.     Discussion

     A. Plaintiff possesses constitutional standing to raise the instant Title VII claims, and
        they are ripe for review.

         Initially, the Comt must address the propriety of Defendant's attachments to its motion.

Defendant attached five documents to its Motion to Dismiss: (1) Affidavit of Dr. Michael Orth

(Exhibit 1) (ECF No. 13-1); (2) TTU Operating and Policy Procedure 32.01 (Exhibit 1- 1) (ECF

No. 13-1 ); (3) ballot (Exhibit 1-2) (ECF No. 13-1 ); (4) email correspondence between Plaintiff

and Dr. Orth (Exhibit 1-3) (ECF No. 13-1); and (5) a letter to Plaintiff authored by Dr. 01th, dated

December 17, 2018 (Exhibit 1-4). ECFNo. 13-1. 3

        In connection with a 12(b)(l) motion challenging the comi's subject matter jurisdiction, a

defendant may make a facial or a factual attack. Paterson v. Weinberger, 644 F.2d 521, 523 (5th

Cir. May 1981 ). "If a defendant makes a factual attack upon the court' s subject matter jurisdiction

over the lawsuit, the defendant submits affidavits, testimony, or other evidentiary materials." Id.

(internal quotation marks omitted). In response, the party seeking to invoke the court's j urisdiction



3
 Defendant did not file a separately paginated appendix as required by N.D. Tex. Local Civ. R. 7. I (i). Citations to
Defendant's exhibits therefore refer to the electronic page number assigned by the Court's electronic filing system.



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must likewise "submit facts through some evidentiary method and has the burden of proving by a

preponderance of the evidence that the trial court does have subject matter jurisdiction." Id. When

a defendant makes a factual attack, the "court is free to weigh the evidence and satisfy itself as to

the existence of its power to hear the case." Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir.

May 198 1) (quoting Mortensen v. First Fed. Sav. & Loan Ass 'n, 549 F.2d 884, 891 (3d Cir. 1977)).

That is, "no presumptive truthfulness attaches to plaintiff's allegations, and the existence of

disputed material facts will not preclude the trial court from evaluating for itself the merits of

jurisdictional claims." Id. (quoting Mortensen, 549 F.2d at 891).

        Although not expressly stated, the Court understands Defendant as submitting the

documents for consideration only as they relate to the Rule 12(b)( 1) motion. The Court reaches

this conclusion primarily because Defendant never refers to the documents in connection with its

assertion that Plaintiff has failed to state a claim under Rule 12(b)(6). See Def.'s Mot. 6- 9; Def.'s

Reply 5. In addition, Defendant does not allege that the documents are central to Plaintiff's claims

or referenced by his Complaint- i.e., the standard for considering documents outside the pleadings

on a Rule 12(b)(6) motion. See Def.' s Mot. 1- 10. Instead, Defendant has submitted evidence to

support its claim that Plaintiff lacks standing.      See id. at 6.   The Court therefore considers

Defendant's Rule 12(b)(1) motion as a factual attack on the Court's subject matter jurisdiction and

evaluates Defendant's evidence, as well as Plaintiff's, only as it relates to the Court's jurisdiction.

       Plaintiff alleges that Defendant denied him tenure. Comp!. 2       ~   10. Defendant contends,

however, that Defendant did not make a "final" decision concerning Plaintiff's tenure application

because Plaintiff withdrew his application prior to completing the "tenure and promotion process."

Def.'s Mot. 4. In support, Defendants cite Dr. Orth's affidavit, Defendant's "Operating and Policy

Procedure" concerning tenure, and emails between Plaintiff and Dr. Orth. Id. at 6 (citing ECF No.




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13-1, at 3, 5-16, 20-22).            Defendant argues that without a final decision from Defendant

concerning Plaintiffs tenure, Plaintiff has not suffered an actual injury. Id. at 4. Moreover,

Defendant avers that even if Plaintiff could demonstrate he had suffered some injury, he has not

shown it is fairly traceable to Defendant because Plaintiff "withdrew his tenure application and it

is he who is responsible for [Defendant] not reaching a final decision regarding his tenure." Id.

Similarly, Defendant asserts that Plaintiffs claims are not constitutionally ripe for review because

Defendant never rendered a final decision "regarding Plaintiffs application for tenure." 4 Id. at 5.

         Even if Plaintiff withdrew his tenure application, as Defendant's evidence certainly

suggests, the Court finds that at this stage Plaintiff has met his burden of establishing constitutional

standing to assert his claims. 5 Similarly, the Court concludes they are ripe for review. Plaintiff

alleges that Defendant's unlawful conduct not only resulted in him being denied a tenured position,

but also subjected him to a hostile work environment, all of which caused him to suffer lost wages

and benefits as well as mental anguish. Comp!. 2 110, 3 11 12- 13. Moreover, Defendant's

evidence reflects that after tenured faculty unanimously voted against Plaintiffs promotion or

receipt of tenure, Dr. Orth informed Plaintiff of the decision. ECF No. 13-1 , at 3 11 5-6; see ECF

No. 13-1 , at 18 (reflecting that a tenured department faculty committee, Dr. Orth (as department

chair), and a college committee, all voted against granting Plaintiff tenure). Shortly thereafter,




4
 Although unclear, Defendant appears to challenge only Plaintiffs standing to assert a Title VII discrimination claim.
See Def.'s Mot. 4- 5; Def.'s Reply 1- 3. Regardless, for the reasons discussed below the Court finds Plaintiff has met
his burden as to both Title VII discrimination and hostile work environment claims.
5
  Plaintiffs contention that he is only required to establish statutory- and not constitutional- standing is inaccurate.
Pl. 's Resp. 2. The presence of Article lll standing is a necessary prerequisite of every case in federal court. See Warth
v. Seldin, 422 U.S. 490, 50 I (I 975) (Standing "is the threshold question in every federal case, detem,ining the power
of the court to entertain the suit."). Only after finding constitutional standing need a court examine whether a plaintiff
has prudential standing under the statute, typically under Rule 12(b)(6). See Harold H. Huggins Realty, 634 F.3d at
795 n.2.




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    Plaintiff withdrew his application. Id. at 3 'if 6; see ECF No. 13-1, at 12 'if 3 (providing for

 application withdrawal).

           The Court cannot conclude, based on Defendant's evidence and Plaintiff's allegations, that

the tenured faculty's unanimous vote against Plaintiff's receipt of tenure (of which Plaintiff was

 aware) does not constitute a "final" decision of Defendant such that the Court lacks jurisdiction to

consider Plaintiff's Title VII claims. Plaintiff has alleged an injury (denial of tenure, mental

anguish, lost wages) that is fairly traceable to Defendant's purported conduct (discrimination on

the basis of nationality and religion and subjection to a hostile work environment), and Plaintiff's

claims are not subject to further factual development. At this stage, Plaintiff has pleaded adequate

facts demonstrating standing and ripeness. 6 See Lujan, 504 U.S. at 560-61 (explaining that an

injury-in-fact is one that is "concrete and particularized ... not conjectural or hypothetical," and

"[a]t the pleading stage, general factual allegations of injury resulting from the defendant's conduct

may suffice" (internal quotation marks and citations omitted)); Env 't Tex. Citizen Lobby, Inc. v.

ExxonMobil Corp., 968 F.3d 357, 368 (5th Cir. 2020) (defining traceability as requiring

" something more than conjecture . . . but less than certainty"); Groome Res. Ltd., L.L.C. v. Par. of

Jefferson, 234 F.3d 192, 199 (5th Cir. 2000) ("A case is generally ripe if any remaining questions

are purely legal ones .. . ."); cf Gracia v. SigmaTron Int '!, Inc., 986 F.3d 1058, 1064 (7th Cir.

2021) (concluding that at summary judgment, plaintiff had not demonstrated she suffered an

injury-in-fact such that she had standing to assert a Title VII retaliation claim, where plaintiff only

made conclusory allegation that defendant' s actions caused her mental anguish but did not point



6
  Defendant ultimately contends that b ecause Plaintiff withdrew his tenure application, he did not suffer an adverse
employment action, which is a statutory element of a Title VII discrimination claim . Def. 's Reply 1-2. In this regard,
Defendant conflates a jurisdictional argument with one based on the merits. See, e.g., Herrera v. NBS, Inc., 759 F.
Supp. 2d 858, 861 (W.D. Tex. 20 I 0) (analyzing under Rule 12(b)(6) defendant's argument that plaintiff, a non-citizen
working abroad, was not protected by Title VII, finding that such a statutory-deficiency argument was non-
jurisdictional).



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to any evidence in support); Stewart v. Hannon, No. 74 C 2466, 1980 WL 18610, at *5 (N.D. Ill.

May 19, 1980) (explaining plaintiffs' Title VII claim was not yet ripe, where they alleged

examination on which hiring decisions were based was discriminatory but the examination results

were not yet final and defendants could still "decide to weight the questions differently, to change

the cut-off score, to weight the written exam differently as a factor in the hiring process, or to

otherwise alter the scores and their use").

            The Court therefore denies Defendant's Rule 12(b)(l) motion without prejudice to

Defendant's right to reassert its challenge later in the proceedings.

   B. Plaintiff has not pleaded adequate facts demonstrating a Title VII violation.

       Title VII makes it unlawful for an employer "to discriminate against any individual with

respect to his compensation, terms, conditions, or privileges of employment, because of such

individual's ... religion ... or national origin." 42 U.S.C. § 2000e-2(a)(l) (2019). Further, an

employer may not "limit, segregate, or classify [its] employees ... in any way which would deprive

or tend to deprive any individual of employment opportunities or otherwise adversely affect his

status as an employee, because of such individual's ... religion . . . or national origin." Id. § 2000e-

2(a)(2).

              1. Employment discrimination claim

           To state a viable Title VII discrimination claim, a plaintiff must show he: "(1) is a member

of a protected group; (2) was qualified for the position at issue; (3) was discharged or suffered

some adverse employment action by the employer; and (4) was replaced by someone outside his

protected group or was treated less favorably than other similarly situated employees outside the

protected group." McCoy v. City of Shreveport, 492 F.3d 551 , 556 (5th Cir. 2007) (referencing

the framework set forth McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973)). To




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survive a motion to dismiss, "a plaintiff need not make out a pnma facie case of

discrimination . ... " Raj v. La. State Univ., 714 F.3d 322,331 (5th Cir. 2013) (citing Swierkiewicz

v. Sorema NA., 534 U.S. 506, 510- 12 (2002)). Nevertheless, a plaintiff must "plead sufficient

facts on all of the ultimate elements .. . to make [his] case plausible." Cicalese v. Univ. of Tex.

Med. Branch, 924 F.3d 762, 766 (5th Cir. 2019) (quoting Chhim v. Univ. of Tex. at Austin, 836

F.3d 467, 470 (5th Cir. 2016)). "[T]here are two ultimate elements a plaintiff must plead to

support" a Title VII employment discrimination claim: "(l) an adverse employment action,

(2) taken against a plaintiff because of [his] protected status." Id. (internal quotation marks and

citation omitted).

       The Fifth Circuit has observed, however, that in an employment discrimination case, a

plaintiff "will 'ultimately have to show' that he can satisfy the McDonnell Douglas framework."

Id. at 767 (quoting Chhim, 836 F.3d at 470). Thus, it may "be helpful to reference that framework

when the court is determining whether a plaintiff has plausibly alleged the ultimate elements of' a

discrimination claim. Id. at 767 (internal quotation marks omitted); see Jenkins v. La. Workforce

Comm 'n, 713 F. App'x 242,244 (5th Cir. 2017) ("The prima facie standard nonetheless has some

relevance at the motion-to-dismiss stage.").

       Defendant contends that Plaintiff has failed to state a discrimination claim because he has

not pleaded facts demonstrating that he was otherwise qualified for tenure. Def. 's Mot. 8; Def. 's

Reply 5. The Court agrees. In his Complaint, Plaintiff asserts that he "was not allowed an

extension of time to complete one part of his tenure application that would satisfy pending tenure

requirements despite meeting all other requirements."        Compl. 2    1 10.   That is, Plaintiffs

allegations indicate that he did not complete all necessary requirements prior to applying for tenure

and was therefore not qualified for tenure. Cf Zahorik v. Cornell Univ., 729 F.2d 85, 93-94 (2d




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Cir. 1984) (providing that a plaintiff may demonstrate he is qualified for tenure by "showing that

some significant portion of the departmental faculty, referrants or other scholars in the particular

field hold a favorable view on the question"); Torres v. City Univ. ofN. Y., No. 90 Civ. 2278 (CSH),

1991 WL 143359, at *7 (S.D.N.Y. July 19, 1991) (denying defendant's motion to dismiss

plaintiffs Title VII claim in part because plaintiff "allege[d] that his department repeatedly

recommended him for reappointment and tenure and that members of the department also wrote

letters in support of his reappointment, one of which charged non-academic reasons for the denial

of reappointment").

         The Court acknowledges, as Plaintiff argues, that he is not required to "make out a prima

facie case of discrimination in order to survive a Rule 12(b)(6) motion .... " 7 Raj, 714 F.3d at

331. Thus, courts err "by subjecting a plaintiffs allegations to a rigorous factual or evidentiary

analysis under the McDonnell Douglas framework in response to a motion to dismiss." Cicalese ,

924 F.3d at 767. But Plaintiff must at least plead facts giving rise to a reasonable inference that

he meets the elements of a Title VII claim. See, e.g., Davis v. Tex. Health & Human Servs.

Comm 'n, 761 F. App'x 451,454 (5th Cir. 2019) (affirming district court' s Rule 12(b)(6) dismissal

of plaintiffs Title VII claim, where she failed to plead "facts giving rise to a reasonable inference

that she applied for and was qualified for the position that ultimately went to her colleague");

Meadows v. City of Crowley, No. 4:17-CV-099-A, 2017 WL 2537282, at *3 (N.D. Tex. June 9,

2017) (granting defendant's Rule 12(b)(6) motion as to plaintiffs Title VII claim in part because




7 Plaintiff cites Wooten in support of his argument that he has pleaded sufficient facts to state a discrimination claim
that is plausible on its face. Pl.'s Resp. 5. In Wooten, however, the Fifth Circuit expressly observed that the plaintiff
had pleaded facts showing he was qualified for the position from which he was allegedly fired due to his age. 788
F.3d at 498- 99 (noting that, in the context ofa claim under the Age Discrimination in Employment Act (ADEA), the
plaintiff had maintained "twelve years of continuous employment" prior to adverse employment actions). The Court
therefore finds Wooten does not support Plaintiff's contention that he has stated a claim sufficient to survive a Rule
12(b)(6) motion.




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"plaintiff ha[d] not pleaded facts sufficient to show that she was qualified for the positions" for

which she applied), ajf'd, 731 F. App' x 317 (5th Cir. 2018). For the reasons stated above, the

Court concludes Plaintiff has failed to do so. Because Plaintiffs own allegations reflect that he

had not completed all necessary requirements for tenure, the Court grants Defendant's Motion to

Dismiss as to Plaintiffs employment discrimination claim.

             2.    Hostile work environment claim

        Defendant maintains that, to the extent Plaintiff raises a hostile work environment claim,

he fails to plead sufficient factual allegations in support.                 Def. 's Mot. 8- 9; Def.'s Reply 5.

Specifically, Defendant asserts that "Plaintiffs allegations that Dr. Orth 'became cold and distant'

and that Plaintiff was ' given the cold shoulder' in the department are not sufficiently objectively

and subjectively abusive to" constitute a hostile work environment. Def.' s Mot. 9 (quoting Compl.

2 ~ 10). Plaintiff does not specifically discuss Defendant's contention. See Pl.'s Resp. 5- 8

(addressing only the discrimination claim but generally arguing that his pleadings are sufficient

under Rule 8). As Defendant observes, Plaintiffs Complaint makes only one reference to a hostile

work environment. Compl. 2             ~   10 (alleging he "was subject to a hostile work environment").

Thus, it is unclear whether Plaintiff intends to raise such a claim. 8

         "A hostile work environment exists 'when the workplace is permeated with discriminatory

intimidation, ridicule, and insult, that is sufficiently severe or pervasive to alter the conditions of

the victim's employment and create an abusive working environment."' Stewart v. Miss. Transp.




8 Plaintiffs pleadings before the Court create serious doubt as to his intent to pursue this claim.        Plaintiff only

origin and religion." Compl.  3,
specifically alleges that Defendant violated Title VII "by discriminating against [him] on the basis of his national
                                   11. Because Defendant challenges Plaintiffs contention that Defendant "subject[ed]
[him] to a hostile work environment," and Plaintiff does not state whether he intended to raise a hostile work
environment claim, the Court has considered whether Plaintiffs allegations are sufficient to state a claim. Should
Plaintiff elect to amend his Complaint, however, he should clearly state the claims he is asserting in this action, along
with the supporting salient facts.




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Comm 'n, 586 F.3d 321, 328 (5th Cir. 2009) (quoting Nat '! R.R. Passenger Corp. v. Morgan, 536

U.S. 101, 116 (2002)); see Raj, 714 F.3d at 330- 31 ("A hostile work environment claim ...

necessarily rests on an allegation that an employer has created 'a working environment heavily

charged with ... discrimination."' (citation omitted)). To state a viable hostile work environment

claim, a plaintiff must show he:

        (1) belongs to a protected group; (2) was subjected to unwelcome harassment;
        (3) the harassment complained of was based on his membership in the protected
        group; (4) the harassment complained of affected a term, condition, or privilege of
        employment; and (5) the employer knew or should have known of the harassment
        in question and failed to take prompt remedial action.

English v. Perdue, 777 F. App'x 94, 98 (5th Cir. 2019). 9 Defendant only challenges the fourth

element- the harassment "affected a term, condition, or privilege of' Plaintiffs employment.

Def. 's Mot. 9.

        "For harassment to affect a term, condition or privilege of employment, it must be

' sufficiently severe or pervasive to alter the conditions of the victim's employment and create an

abusive working environment.'" Buisson v. Bd. of Supervisors of La. Cmty. & Tech. Coll. Sys.,

592 F. App'x 237, 245 (5th Cir. 2014) (citation omitted). Courts consider the "totality of the

circumstances" in determining whether a work environment was objectively hostile or abusive.

Hockman v. Westward Commc 'ns, LLC, 407 F.3d 317,325 (5th Cir. 2004). "To determine whether

harassment is so severe or pervasive that it alters the conditions of [a] plaintiffs employment," the

Fifth Circuit considers a number of factors: "the frequency of the discriminatory conduct, its

severity, whether it is physically threatening or humiliating (or whether it is a mere offensive




9Only the first four elements apply when "the harassment is allegedly committed by a supervisor with immediate (or
successively higher) authority over the harassment victim ...." Zavala v. Carrolton-Farmers Branch Indep. Sch.
Dist., No. 3: 16-CV-1034-D, 2017 WL 274 133, at *4 n.5 (N.D. Tex. Jan. 20, 2017).



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utterance), and whether it unreasonably interferes with the victim's work performance." Buisson,

592 F. App'x at 245 (citation omitted).

        Plaintiff maintains that after Dr. Orth and his wife "asked Plaintiff detailed questions about

[his] religious beliefs," Dr. Orth became "cold and distant towards Plaintiff' and he "was given

the cold shoulder within the department." Comp!.2 11 0. Plaintiff, however, does not allege that

Dr. Orth or others made specific harassing or derogatory comments (as opposed to merely being

unfriendly or non-communicative) to or about Plaintiff based on his membership in a protected

group. See id. Liberally construed, the only other factual allegation possibly related to a hostile

work environment claim is Plaintiff's assertion that, "throughout Plaintiff's time in the department,

Dr. Orth made a number of statements indicating that he did not like the nation of Iran or its

leaders." Id. These minimal allegations fail to sufficiently state an actionable hostile work

environment claim.

        In Buisson, the Fifth Circuit found as a matter oflaw that abuse suffered by a professor far

exceeding any alleged by Plaintiff herein did not qualify as harassment "so severe or pervasive

that it altered the conditions of [her] employment." Buisson, 592 F. App'x at 245. Specifically,

the plaintiff's supervisor, inter alia: (1) called plaintiff a "chink"; (2) engaged in multiple instances

of"rude" behavior directed at plaintiff during the course of the year; (3) granted certain privileges

to instructors outside plaintiff's protected class while denying the same to her; (4) stole materials

from plaintiff; and (5) lied to plaintiff about receiving compensation for teaching an extra course.

Id. at 239-41. 10 Although offensive or annoying, the court found that such "incidents do not rise

to the level of severity or pervasiveness required to support a hostile-work-environment claim"



10 While Buisson was resolved by summary judgment, its holding nevertheless provides relevant guidance on

evaluating the legal sufficiency of Plaintiffs factual allegations in establishing conduct "sufficiently severe or
pervasive [that it] . . . alter[ed] the conditions of . . . [her] employment and create[ed] an abusive work ing
environment." Id. at 245.



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because "[n]one of them involved physically threatening or humiliating conduct, as opposed to

offensive utterances." Id. at 245--46. Similarly, Dr. Orth's alleged comments criticizing Iran or

its leaders 11 "pale in comparison, both in severity and frequency, to the kinds of verbal harassment

[the Fifth Circuit] and other circuits have held would support a Title VII, hostile-work-

environment claim." Buisson, 592 F. App'x at 245 (comparing and contrasting cases involving

"years of inflammatory racial epithets" and "incessant racial slurs").

         Considering the totality of circumstances, Plaintiffs limited and conclusory allegations are

simply insufficient to state a claim for hostile work environment. See Whitlock v. Lazer Spot, Inc.,

657 F. App'x 284,287 (5th Cir. 2016) (per curiam) (affirming Rule 12(b)(6) dismissal of plaintiffs

hostile work enYironment claim- plaintiffs allegation that defendant (1) punished him "for

infractions that white employees were not punished for" and (2) created a difficult work

environment did not demonstrate "he was repeatedly subjected to harassment that was linked to

his race" and therefore failed to state a plausible claim for relief); Ryerson v. Berryhill, No. 3: l 5-

CV-3509-S-BK, 2018 WL 4103433, *10-11 (N.D. Tex. Aug. 2, 2018) (granting summary

judgment on plaintiffs complaints concerning office placement, alleged ransacking of her office,

co-workers' rude and offensive behavior, and isolated incident involving possible racial slur,

where such incidents did "not suffice to demonstrate a hostile work environment"); Silva v. Spring

Branch lndep. Sch. Dist., No. H- 16- 545, 2017 WL 818593, at *17 (S.D. Tex. Jan. 24, 2017)

(dismissing under 12(b)(6) plaintiffs hostile work environment claim, where the alleged unlawful

incidents "were too few and too minor to be either severe or pervasive" and noting that




11 The Court also finds a distinction between unfavorable comments that may be made regarding a country or its
political leaders versus those directed toward an individual based upon his national origin. The fonner, if
objectionable, would seem to fall more naturally within the context of violating a "general civility code" (e.g., a mere
offensive utterance), which is not actionable under federal discrimination laws, while the latter would more likely
satisfy the requirement that the communication be physically threatening or humiliating.



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"[d]iscourtesy, rudeness, teasing, offhand comments, and isolated incidents (unless extremely

severe) do not amount to 'discriminatory changes in the terms and conditions of employment"'

(quoting Indest v. Freeman Decorating, Inc., 164 F.3d 258,264 (5th Cir. 1999)), R. & R. adopted

by 2017 WL 823584 (S.D. Tex. Mar. 1, 2017); cf Aziz v. MMR Grp., Inc., No. 18-771 -BAJ-EWD,

2019 WL 12536114, at *5 (M.D. La. Feb. 27, 2019) (concluding plaintiff pleaded adequate facts

to state claim for hostile work environment, where plaintiff averred that defendant "made

'frequent' racist and Islamophobic remarks- calling [p]laintiff 'bomb maker,' 'monkey,' and a

'radical one'-throughout [p ]laintiff s employment," which sufficiently demonstrated "a long-

term pattern of ridicule sufficient to establish a [hostile-work-environment] claim"); Obondi v. UT

Sw. Med. Ctr., No. 3: 15-CV-2022-B, 20 16 WL 795966, *1, *5 (N.D. Tex. Feb. 29, 2016) (denying

defendant's motion to dismiss on plaintiffs hostile work environment claim where defendant, over

a number of years, subjected plaintiff to "demeaning remarks, ridiculing statements, negative

comments, and negative innuendos ... to the point where [she] was overwhelmed and exhausted[,]

thereby aggravating [her] medical conditions"). In addition, the Court notes that Plaintiff has

pleaded no facts showing that Dr. Orth's comments or conduct prevented him from doing his job.

Buisson, 592 F. App'x at 245. For these reasons, the Court grants Defendant's Rule 12(b)(6)

motion as to any hostile work environment claim asserted by Plaintiff. 12

              3. Leave to amend

         Plaintiff asks the Court for permission to amend his Complaint, to the extent the Court

finds Plaintiff has not stated a Title VII claim. Pl.'s Resp. 8. The Court grants Plaintiffs request

to replead. There is no indication that Plaintiff cannot, or is unwilling to, cure the pleading defects



12
   Where a plaintiff fails to ·'ple[ad] a claim of hostile work environment that raises his right to relief 'above the
speculative level,"' e.g., by alleging facts connecting his race or national origin with actionable harassment, his claim
is subject to Rule 12(b)(6) dismissal. Raj, 7 14 F.3d at 331.



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identified by the Court herein. Great Plains Tr. Co. v. Morgan Stanley Dean Witter & Co. , 313

F.3d 305, 329 (5th Cir. 2002) (observing that "district courts often afford plaintiffs at least one

opportunity to cure pleading deficiencies before dismissing a case, unless it is clear that the defects

are incurable or the plaintiffs advise the court that they are unwilling or unable to amend in a

manner that will avoid dismissal").       Plaintiff shall have thirty days from the date of this

Memorandum Opinion and Order to file any amended complaint.

                                         IV.     Conclusion

       For the foregoing reasons, the Court DENIES Defendant's Rule 12(b)(l) motion. Further,

the Court GRANTS Defendant's Rule 12(b)(6) Motion to Dismiss Plaintiff's Title VII claims.

Finally, the Court GRANTS Plaintiff leave to file an amended complaint within thirty days from

the date of this Memorandum Opinion and Order.

       In light of this Order, the Court DENIES as moot the pending Agreed Motion to Stay the

scheduling order deadlines. ECF No. 18.

       SO ORDERED.

       Dated: October    'J..7,2021.


                                               D. GORDO BRYANT,J
                                               UNITED STATES MAG TRATE JUDGE




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